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                            IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF PUERTO RICO


       IN RE:

                LAURA GALINDEZ MATOS,                                    CASE NO. 17-01578 (ESL)

                Debtor.                                                  CHAPTER 11


                              UNITED STATES TRUSTEE’S POSITION
                          ON DEBTOR'S APPLICATION FOR FINAL DECREE

    TO THE HONORABLE COURT:

           Daniel M. McDermott, United States Trustee for Region 21, through his undersigned counsel,

    respectfully states and prays as follows:

           1.       On August 14, 2018, Debtor filed an Application for Final Decree. (Docket No. 122).

           2.       The United States Trustee notes that Debtor currently owes $1,953.55 in quarterly fees

    for the first and second calendar quarters of 2018. See Exhibit A – Account Reconciliation Report.

           3.       As of today, Debtor has also failed to file the operating report for July 2018.

           4.       Debtor should continue to file operating reports until the final decree is entered.

           5.       Lastly, the Application carries a 14-day objection language, whereas PR LBR 3022-1(d)

    requires a 21-day objection language.

           6.       Therefore, the United States Trustee requests the Court to order Debtor to pay the

    outstanding quarterly fees, and file the operating report for July 2018, before the Application for Final

    Decree is granted.

           WHEREFORE, the United States Trustee respectfully requests the Court order Debtor to pay

    the outstanding quarterly fees, and file the operating report for July 2018, before the Application for

    Final Decree is granted.


                                      NOTICE
           WITHIN FOURTEEN (14) DAYS AFTER SERVICE AS EVIDENCED BY THE
           CERTIFICATE OF SERVICE BELOW, AND AN ADDITIONAL THREE (3) DAYS
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    UNITED STATES TRUSTEE’S POSITION AS TO APPLICATION FOR FINAL DECREE
    IN RE: LAURA GALINDEZ MATOS, CASE No. 17-01578 (ESL).                                         Page 2 of 2

           PURSUANT TO FED. R. BANK. P. 9006(f) IF YOU WERE SERVED BY MAIL, ANY
           PARTY AGAINST WHOM THIS PAPER HAS BEEN SERVED, OR ANY OTHER
           PARTY TO THE ACTION WHO OBJECTS TO THE RELIEF SOUGHT HEREIN,
           SHALL SERVE AND FILE AN OBJECTION OR OTHER APPROPRIATE RESPONSE
           TO THIS PAPER WITH THE CLERK’S OFFICE OF THE U.S. BANKRUPTCY
           COURT FOR THE DISTRICT OF PUERTO RICO. IF NO OBJECTION OR OTHER
           RESPONSE IS FILED WITHIN THE TIME ALLOWED HEREIN, THE PAPER WILL
           BE DEEMED UNOPPOSED AND MAY BE GRANTED UNLESS: (I) THE
           REQUESTED RELIEF IS FORBIDDEN BY LAW; (ii) THE REQUESTED RELIEF IS
           AGAINST PUBLIC POLICY; OR (iii) IN THE OPINION OF THE COURT, THE
           INTEREST OF JUSTICE REQUIRES OTHERWISE.

                                         CERTIFICATE OF SERVICE

           I DO HEREBY CERTIFY that on this day I electronically filed a true and exact copy of the

    foregoing with the Clerk of the Court using the CM/ECF System which will send notification of such

    filing to all CM/ECF participants.

           I DO HEREBY FURTHER CERTIFY that on this same date a true and exact copy of the

    foregoing has been sent by regular United States mail to the following parties:

           LAURA IVETTE GALINDEZ MATOS
           1404 AVE PAZ GRANELA
           PMB 353 STE 2
           SAN JUAN, PR 00921

           DATED: August 29, 2018
                                                                DANIEL M. MCDERMOTT
                                                          United States Trustee for Region 21

                                                           MONSITA LECAROZ ARRIBAS
                                                             Assistant United States Trustee

                                                         U.S. DEPARTMENT OF JUSTICE
                                             OFFICE OF THE UNITED STATES TRUSTEE
                                                 Edificio Ochoa, 500 Tanca Street, Suite 301
                                                          San Juan, Puerto Rico 00901-1922
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                                                                         (Electronically Filed)

                                                              By: s/ Julio Guzmán-Carcache
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